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                                                                              AT ROANOKE,VA
                                                                                   FILED

                                                                                JUN 2 5 2219
                      IN THE UNITED STATES DISTRICT COURT
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IRA D .SOCOL,

      Plaintiff
                                                     CivilAction No.3:18CV00090


ALBEM ARLE COUNTY SCHOOL BOARD,
                                                     By:Hon.Glen E.Conrad
rd                                                   SeniorUnited StatesDisd ctJudge

M ATTHEW S.IIAAS,individually and as
SupedntendentofAlbemarleCotmty Public
Schools,

      Defendants.



      Forthereasonsstated in theaccompanying mem orandum opinion,itishereby

                                     O R DER ED

asfollow s:

       1.     Thedefendant'smotiontodismiss(Dkt.No.4)isGRANTED IN PART AND
              DENIED IN PART;

      2.      The SchoolBoard isDISM ISSED from thecase;and

      3.      Theplaintiffsmotiontostdkeexhibits(Dlct.No.16)isDEM ED AS M OOT.
      TheClerk isdireciedto send copiesofthisorderandtheaccompanyingmemorandum
opinion to allcounselofrecord.
      DATED:This W        day ofJtme, 2019.




                                          SezliorU nited StatesD istrictJudge



Case 3:18-cv-00090-GEC Document 22 Filed 06/25/19 Page 1 of 1 Pageid#: 235
